     Case 1:23-cv-03026-TOR   ECF No. 66-1      filed 03/24/23   PageID.1944 Page 1 of 2



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18                     UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WASHINGTON
19                              AT SPOKANE
20     STATE OF WASHINGTON, et al.,
                                                    No. 1:23-cv-3026-TOR
21                                Plaintiffs,
                                                    ORDER GRANTING MOTION
22           v.                                     TO APPEAR PRO HAC VICE
                                                    FOR MEGAN MCGUIGGAN
23     UNITED STATES FOOD AND
       DRUG ADMINISTRATION, et al.,                 [PROPOSED]
24
                                  Defendants.
25

26

                                                                                LAW OFFICES OF

       ORDER GRANTING MOT. TO APPEAR PRO HAC VICE                  MCNAUL EBEL NAWROT & HELGREN PLLC
                                                                          600 University Street, Suite 2700
       FOR MEGAN MCGUIGGAN (No. 1:23-cv-3026-TOR)                         Seattle, Washington 98101-3143
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     Case 1:23-cv-03026-TOR    ECF No. 66-1   filed 03/24/23   PageID.1945 Page 2 of 2



1            This Court admits Megan McGuiggan to appear pro hac vice in this
2
       action as counsel for the American College of Obstetricians and
3

4      Gynecologists, American Medical Association, Society for Maternal-Fetal

5      Medicine, American Academy of Family Physicians, American Academy of
6
       Pediatrics, American College of Nurse-Midwives, American Gynecological
7

8      and Obstetrical Society, American Society for Reproductive Medicine, Council

9      of University Chairs of Obstetrics & Gynecology, North American Society for
10
       Pediatric and Adolescent Gynecology, Society of General Internal Medicine,
11

12     Society of Gynecologic Oncology, Society of Gynecologic Surgeons, Society
13     of OB/GYN Hospitalists, and Washington State Medical Association.
14
             IT IS SO ORDERED this ____ day of ______________, 2023.
15

16

17

18                                                Hon. Thomas O. Rice
                                               United States District Judge
19                                            Eastern District of Washington
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                                                                               LAW OFFICES OF

       ORDER GRANTING MOTI. TO APPEAR PRO HAC VICE               MCNAUL EBEL NAWROT & HELGREN PLLC
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       FOR MEGAN MCGUIGGAN (No. 1:23-cv-3026-TOR) – Page 1               Seattle, Washington 98101-3143
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